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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID MUNIZ AND CATHY MUNIZ,                      Civil Action No. 3:23-cv-00825-JFS

                        Plaintiffs,

          v.

SILVIA VITIELLO AND AIR BNB,

                        Defendants.


                                          ORDER

         AND NOW this _____ day of __________, 2023, upon consideration of Defendant

Silvio Vitiello’s Motion to Dismiss and Plaintiffs’ response thereto, IT IS HEREBY

ORDERED said Motion is GRANTED and Plaintiffs’ claims are dismissed with prejudice.


                                                         BY THE COURT:


                                                         ______________________
                                                         Hon. Joseph F. Saporito, Jr.




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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID MUNIZ AND CATHY MUNIZ,                      Civil Action No. 3:23-cv-00825-JFS

                        Plaintiffs,

          v.

SILVIA VITIELLO AND AIR BNB,

                        Defendants.


                                      ALTERNATIVE ORDER

         AND NOW this _____ day of __________, 2023, upon consideration of Defendant

Silvio Vitiello’s Motion to Dismiss and Plaintiffs’ response thereto, IT IS HEREBY

ORDERED that the Motion to Dismiss is GRANTED and Plaintiffs are compelled to submit

this matter to arbitration.



                                                         BY THE COURT:


                                                         ______________________
                                                         Hon. Joseph F. Saporito, Jr.




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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID MUNIZ AND CATHY MUNIZ,                             Civil Action No. 3:23-cv-00825-JFS

                        Plaintiffs,

          v.

SILVIA VITIELLO AND AIR BNB,

                        Defendants.


         SILVIO VITIELLO’S MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                        AND TO COMPEL ARBITRATION

         Defendant Silvio Vitiello (incorrectly identified as “Silvia Vitiello” and hereinafter

referred to as “Mr. Vitiello” and/or “Moving Defendant”), by and through the undersigned

counsel, submits the within Motion to Dismiss and Brief in support thereof pursuant to Federal

Rule of Civil Procedure 12(b)(6) for Failure to State a Claim Upon Which Relief May be

Granted since Plaintiffs fail to plead their claim of negligence with specificity and because they

agreed to the Airbnb Terms of Service which mandates arbitration as the exclusive and

mandatory remedy for any claims arising out of the use of the Airbnb platform. In support

therefore, Moving Defendant avers as follows:

I.       FACTUAL AND PROCEDURAL BACKGROUND

         1.        On April 16, 2023, David Muniz and Cathy Muniz (“Plaintiffs”) initiated suit by

filing a Complaint against Defendant Silvio Vitiello (incorrectly identified as “Silvia Vitiello”)

and Airbnb. A true and correct copy of Plaintiffs’ Complaint is attached hereto and marked as

Exhibit “A”.

         2.        Plaintiffs allege that on February 26, 2022, Plaintiffs, while business invitees,

were injured due to exposure to carbon monoxide due to a defect in the heating system at their



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Airbnb rental located at 627 Carlton Road, Tobyhanna, PA 18466 (“subject property”). Id. at

¶41-42.

         3.        Plaintiffs each assert two counts of negligence, one against Moving Defendant

and the other against Defendant Airbnb, Inc. See Exhibit “A”.

         4.        Plaintiffs assert, inter alia, that Moving Defendant failed to inspect and maintain

the premises, warn of known dangers, and assure that the premises was safe. Id. at ¶29, 60-62,

92-94.

         5.        Plaintiffs have failed to state a claim upon which relief can be granted as to Mr.

Vitiello, as the Complaint does not state sufficient facts to support how Mr. Vitiello was

allegedly negligent with regard to the heating system’s “defect”, or what Plaintiffs’ alleged

injuries of “breathing trauma” consisted of.

         6.        Furthermore, pursuant to the Airbnb Terms of Service, which Plaintiffs agreed to

in renting the property, arbitration is the exclusive and mandatory remedy for Plaintiffs’ claims.

         7.        As such, Plaintiffs’ claims against Defendant should be dismissed, with prejudice.

II.      STANDARD OF REVIEW

         8.        A motion to dismiss may be brought pursuant to Federal Rule of Civil Procedure

12(b)(6). See Fed. R. Civ. P. 12(b)(6).

         9.        Rule 12(b)(6) governs a motion to dismiss for failure to state a claim upon which

relief can be granted. To survive a Rule 12(b)(6) motion to dismiss, Plaintiff's allegations must

meet a standard of "plausibility." Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 572 (2007).

         10.        Plausibility requires "more than a sheer possibility that a defendant has acted

unlawfully." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).




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         11.       Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice. Id.

         12.       "A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged." Id. at 678 (citing Twombly, 550 U.S. at 556).

         13.       This standard, which applies to all civil cases, "asks for more than a sheer

possibility that a defendant has acted unlawfully." Id. at 678; accord Fowler v. UPMC

Shadyside, 578 F.3d 203, 210 (3d Cir. 2009) ("[A]ll civil complaints must contain more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.") (internal quotation marks

omitted).

         14.       Furthermore, the arbitrability of a matter is “a threshold, jurisdictional question

that must be decided by the court.” Davis v. Center Management Group, LLC, 192 A.3d 173,

182 (Pa. Super. 2018).

         15.       “If a valid arbitration agreement exists between the parties and [] [Plaintiffs’]

claim is within the scope of the agreement, the controversy must be submitted to arbitration.” Id.

(citing Smith v. Cumberland Group Limited, 687 A.2d 1167, 1171 (1997)).

         16.       Once a party makes a showing that an agreement for alternative dispute resolution

exists, the court shall order the parties to proceed with arbitration. 42 Pa. C.S. §7304.

         17.       Furthermore, as a matter of public policy, Pennsylvania courts strongly favor the

settlement of disputes by arbitration. Smith, 687 A.2d at 1171.

III.     ARGUMENT

A.       COUNT I -Negligence of Plaintiffs’ Complaint must be dismissed as Plaintiffs fail to
         state a claim against Silvio Vitiello upon which relief may be granted




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         18.       Plaintiffs claim that Mr. Vitiello, as the host of the Airbnb rental property,

breached his duty to them when there was a defect in the heating system at the subject property.

See Exhibit “A” at ¶41-42.

         19.       Although Plaintiffs assert, inter alia, that Moving Defendant failed to inspect and

maintain the premises, warn of known dangers, and assure that the premises was safe, Plaintiffs

provide no facts to show that Mr. Vitiello did, in fact, breach his duty. Id. at ¶29, 60-62, 92-94.

         20.       Rather, Plaintiffs simply make conclusory statements that Mr. Vitiello breached

his duty to them, resulting in the vague injury of “breathing trauma”.

         21.       Assuming, arguendo, that Mr. Vitiello owed a duty to the Plaintiffs, Plaintiffs

have nonetheless failed to plead any facts to show how Mr. Vitiello deviated from and breached

said duty, specifically because they claim that the heating system encountered a “defect”, which

would not be Mr. Vitiello’s fault.

         22.       Plaintiffs have not pled with sufficient specificity how Mr. Vitiello allegedly

breached his duty and what their alleged resulting injuries were.

         23.       Therefore, Plaintiffs’ negligence claim must be dismissed.

B.       Plaintiffs’ claims are subject to the arbitration agreement contained in the Airbnb
         Terms of Service

         24.       Moving Defendant Silvio Vitiello is a host who lists his property on Airbnb, an

online platform that offers properties for rental, handling the rental’s marketing, booking and

customer service on behalf of homeowners. Moving Defendant is the owner of the subject

property.

         25.       Section 23 of the Airbnb Terms of Service/Rental Agreement contains an

arbitration provision which states as follows:




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         Agreement to Arbitrate. You and Airbnb mutually agree that any dispute, claim or
         controversy arising out of or relating to these terms or the applicability, breach,
         termination, validity, enforcement or interpretation thereof, or any use of the Airbnb
         Platform, Host Services, or any Content (collectively, “Disputes”) will be settled by
         binding individual arbitration (the “Arbitration Agreement”). If there is a dispute about
         whether this Arbitration Agreement can be enforced or applied to our Dispute, you and
         Airbnb agree that the arbitrator will decide that issue.

         See Exhibit “B,” at Sect. 23.4.

         26.       Here, the parties entered into a valid agreement arising from the rental of Moving

Defendant’s property listed on Airbnb’s online platform. All guests who use the Airbnb

platform must agree to the Terms of Service to use the platform. A guest cannot create an

account without agreeing to the Terms of Service.

         27.       The arbitration agreement mandates arbitration as the exclusive and mandatory

remedy for Plaintiffs in this matter, and as such, Plaintiffs’ claim must be dismissed and Plaintiff

must be compelled to submit this matter to arbitration pursuant to the terms of the Airbnb

Agreement.

         WHEREFORE, Defendant Silvio Vitiello respectfully requests that this Honorable Court

enter an Order dismissing, with prejudice, Count I of the Complaint against Mr. Vitiello, and

compel Plaintiffs to submit this dispute to arbitration pursuant to the applicable agreement.




                                         By:     _/s/ Kamela Devole
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                                                     1760 Market Street, Suite 1001
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                                                     kdevole@wshblaw.com
                                                     Counsel for Defendant, Silvio Vitiello
Dated: July 24, 2023




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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID MUNIZ AND CATHY MUNIZ,                           Civil Action No. 3:23-cv-00825-JFS

                        Plaintiffs,

          v.

SILVIA VITIELLO AND AIR BNB,

                        Defendants.


         SILVIO VITIELLO’S MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                          AND COMPEL ARBITRATION

I.       MATTER BEFORE THE COURT

         Defendant, Silvio Vitiello (incorrectly identified as “Silvia Vitiello” and hereinafter

referred to as “Mr. Vitiello” and/or “Moving Defendant”), by and through his undersigned

counsel, hereby moves to dismiss Plaintiffs’ Complaint for failure to state a claim upon which

relief may be granted. In the alternative, Moving Defendant requests that Plaintiffs’ Complaint

be dismissed and Plaintiffs be compelled to submit this matter to arbitration pursuant to the

applicable arbitration agreement.

II.      STATEMENT OF FACTS

         On April 16, 2023, David Muniz and Cathy Muniz (“Plaintiffs”) initiated suit by filing a

Complaint against Defendant Silvio Vitiello (incorrectly identified as “Silvia Vitiello”) and

Airbnb. A true and correct copy of Plaintiffs’ Complaint is attached hereto and marked as

Exhibit “A”.

         Plaintiffs allege that on February 26, 2022, Plaintiffs, while business invitees, were

injured due to exposure to carbon monoxide due to a defect in the heating system at their Airbnb

rental located at 627 Carlton Road, Tobyhanna, PA 18466 (“subject property”). Id. at ¶41-42.



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Plaintiffs each assert two counts of negligence, one against Moving Defendant and the other

against Defendant Airbnb, Inc. See Exhibit “A”. Plaintiffs assert, inter alia, that Moving

Defendant failed to inspect and maintain the premises, warn of known dangers, and assure that

the premises was safe. Id. at ¶29, 60-62, 92-94.

         Plaintiffs have failed to state a claim upon which relief can be granted as to Mr. Vitiello,

as the Complaint does not state sufficient facts to support how Mr. Vitiello was allegedly

negligent with regard to the heating system’s “defect”, or what Plaintiffs’ alleged injuries of

“breathing trauma” consisted of.

         Furthermore, pursuant to the Airbnb Terms of Service, which Plaintiffs agreed to in

renting the property, arbitration is the exclusive and mandatory remedy for Plaintiffs’ claims. As

such, Plaintiffs’ claims against Defendant should be dismissed, with prejudice.

III.     STANDARD OF REVIEW

         A motion to dismiss may be brought pursuant to Federal Rule of Civil Procedure

12(b)(6). See Fed. R. Civ. P. 12(b)(6). Rule 12(b)(6) governs a motion to dismiss for failure to

state a claim upon which relief can be granted. To survive a Rule 12(b)(6) motion to dismiss,

Plaintiff's allegations must meet a standard of "plausibility." Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 572 (2007).

          Plausibility requires "more than a sheer possibility that a defendant has acted

unlawfully." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Threadbare recitals of the elements of

a cause of action, supported by mere conclusory statements, do not suffice. Id. "A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged." Id. at 678 (citing

Twombly, 550 U.S. at 556). This standard, which applies to all civil cases, "asks for more than a




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sheer possibility that a defendant has acted unlawfully." Id. at 678; accord Fowler v. UPMC

Shadyside, 578 F.3d 203, 210 (3d Cir. 2009) ("[A]ll civil complaints must contain more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.") (internal quotation marks

omitted).

         Furthermore, the arbitrability of a matter is “a threshold, jurisdictional question that must

be decided by the court.” Davis v. Center Management Group, LLC, 192 A.3d 173, 182 (Pa.

Super. 2018). “If a valid arbitration agreement exists between the parties and [] [Plaintiffs’]

claim is within the scope of the agreement, the controversy must be submitted to arbitration.” Id.

(citing Smith v. Cumberland Group Limited, 687 A.2d 1167, 1171 (1997)).

         Once a party makes a showing that an agreement for alternative dispute resolution exists,

the court shall order the parties to proceed with arbitration. 42 Pa. C.S. §7304. Furthermore, as a

matter of public policy, Pennsylvania courts strongly favor the settlement of disputes by

arbitration. Smith, 687 A.2d at 1171.

IV.      ARGUMENT

A.       COUNT I -Negligence of Plaintiffs’ Complaint must be dismissed as Plaintiffs fail to
         state a claim against Silvio Vitiello upon which relief may be granted

         Plaintiffs claim that Mr. Vitiello, as the host of the Airbnb rental property, breached his

duty to them when there was a defect in the heating system at the subject property. See Exhibit

“A” at ¶41-42. Although Plaintiffs assert, inter alia, that Moving Defendant failed to inspect and

maintain the premises, warn of known dangers, and assure that the premises was safe, Plaintiffs

provide no facts to show that Mr. Vitiello did, in fact, breach his duty. Id. at ¶29, 60-62, 92-94.

Rather, Plaintiffs simply make conclusory statements that Mr. Vitiello breached his duty to them,

resulting in the vague injury of “breathing trauma”.




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         Assuming, arguendo, that Mr. Vitiello owed a duty to the Plaintiffs, Plaintiffs have

nonetheless failed to plead any facts to show how Mr. Vitiello deviated from and breached said

duty, specifically because they claim that the heating system encountered a “defect”, which

would not be Mr. Vitiello’s fault. Plaintiffs have not pled with sufficient specificity how Mr.

Vitiello allegedly breached his duty and what their alleged resulting injuries were. Therefore,

Plaintiffs’ negligence claim must be dismissed.

B.       Plaintiffs’ claims are subject to the arbitration agreement contained in the Airbnb
         Terms of Service

         Moving Defendant Silvio Vitiello is a host who lists his property on Airbnb, an online

platform that offers properties for rental, handling the rental’s marketing, booking and customer

service on behalf of homeowners. Moving Defendant is the owner of the subject property.

         Section 23 of the Airbnb Terms of Service/Rental Agreement contains an arbitration

provision which states as follows:

         Agreement to Arbitrate. You and Airbnb mutually agree that any dispute, claim or
         controversy arising out of or relating to these terms or the applicability, breach,
         termination, validity, enforcement or interpretation thereof, or any use of the Airbnb
         Platform, Host Services, or any Content (collectively, “Disputes”) will be settled by
         binding individual arbitration (the “Arbitration Agreement”). If there is a dispute about
         whether this Arbitration Agreement can be enforced or applied to our Dispute, you and
         Airbnb agree that the arbitrator will decide that issue.

         See Exhibit “B,” at Sect. 23.4.

         Here, the parties entered into a valid agreement arising from the rental of Moving

Defendant’s property listed on Airbnb’s online platform. All guests who use the Airbnb

platform must agree to the Terms of Service to use the platform. A guest cannot create an

account without agreeing to the Terms of Service.




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         The arbitration agreement mandates arbitration as the exclusive and mandatory remedy

for Plaintiffs in this matter, and as such, Plaintiffs’ claim must be dismissed and Plaintiff must be

compelled to submit this matter to arbitration pursuant to the terms of the Airbnb Agreement.

V.       CONCLUSION

         Based on the foregoing, all claims against Defendant Silvio Vitiello set forth in the

Complaint should be dismissed under Fed.R.Civ.P. 12(b)(6), with prejudice, as Plaintiffs have to

plead with specificity their claims against Moving Defendant. Moving Defendant respectfully

requests that Plaintiffs be compelled to submit this dispute to arbitration pursuant to the

applicable agreement.


                                       By:     _/s/ Kamela Devole
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                                                    Counsel for Defendant, Silvio Vitiello
Dated: July 24, 2023




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                               CERTIFICATE OF COMPLAINCE


         I certify as counsel for Defendant Silvio Vitiello, that I conferred with Plaintiff’s

counsel about the merits of the foregoing Motion to Dismiss under Federal Rule of Civil

Procedure 12(b)(6) and that, despite the parties’ good faith efforts, the parties were unable to

agree that this matter should be dismissed and arbitrated, as detailed in the Motion.



Date: July 24, 2023                                    _/s/ Kamela Devole
                                                       Kamela Devole, Esquire




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                                 CERTIFICATE OF SERVICE

         I, Kamela Devole, hereby certify that a true and correct copy of the foregoing Motion

was served upon the following counsel of record via the Court’s ECF system on this 24th day of

July, 2023:


John E. Lavelle, Esquire
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Counsel for Plaintiffs

Casey Alan Coyle, Esquire
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Co-Counsel for Defendant, Airbnb, Inc.



                                                     _/s/ Kamela Devole
                                                     Kamela Devole, Esquire




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